Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 1 of 7 Page ID #:1




  1     CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
  2     Phyl Grace, Esq., SBN 171771
        Russell Handy, Esq., SBN 195058
  3     Dennis Price, Esq., SBN 279082
        Mail: 8033 Linda Vista Road, Suite 200
  4     San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
  5     phylg@potterhandy.com
  6     Attorneys for Plaintiff
  7
  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     Luis Marquez,                           Case No.

 12               Plaintiff,
                                                Complaint For Damages And
 13       v.                                    Injunctive Relief For Violations
                                                Of: American’s With Disabilities
 14     Shadowood Development                   Act; Unruh Civil Rights Act
        Company, a California Limited
 15     Partnership;
        Demesne Corporation, a
 16     California Corporation;
        Tacos Giyo, Inc., a California
 17     Corporation; and Does 1-10,

 18               Defendants.

 19
 20         Plaintiff Luis Marquez complains of Shadowood Development

 21   Company, a California Limited Partnership; Demesne Corporation, a

 22   California Corporation; Tacos Giyo, Inc., a California Corporation; and Does

 23   1-10 (“Defendants”), and alleges as follows:

 24
 25     PARTIES:

 26     1. Plaintiff is a California resident with physical disabilities. He is a

 27   paraplegic who cannot walk and who uses a wheelchair for mobility.

 28     2. Defendants Shadowood Development Company and Demesne


                                            1

      Complaint
Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 2 of 7 Page ID #:2




  1   Corporation owned the real property located at or about 8436 E. Alondra
  2   Blvd., Paramount, California, between January 2019 and August 2019.
  3     3. Defendants Shadowood Development Company and Demesne
  4   Corporation own the real property located at or about 8436 E. Alondra Blvd.,
  5   Paramount, California, currently.
  6     4. Defendant Tacos Giyo, Inc. owned Tacos Giyo located at or about 8436
  7   E. Alondra Blvd., Paramount, California, between January 2019 and August
  8   2019.
  9     5. Defendant Tacos Giyo, Inc. owns Tacos Giyo (“Restaurant”) located at
 10   or about 8436 E. Alondra Blvd., Paramount, California, currently.
 11     6. Plaintiff does not know the true names of Defendants, their business
 12   capacities, their ownership connection to the property and business, or their
 13   relative responsibilities in causing the access violations herein complained of,
 14   and alleges a joint venture and common enterprise by all such Defendants.
 15   Plaintiff is informed and believes that each of the Defendants herein,
 16   including Does 1 through 10, inclusive, is responsible in some capacity for the
 17   events herein alleged, or is a necessary party for obtaining appropriate relief.
 18   Plaintiff will seek leave to amend when the true names, capacities,
 19   connections, and responsibilities of the Defendants and Does 1 through 10,
 20   inclusive, are ascertained.
 21
 22     JURISDICTION & VENUE:
 23     7. The Court has subject matter jurisdiction over the action pursuant to 28
 24   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 25   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 26     8. Pursuant to supplemental jurisdiction, an attendant and related cause
 27   of action, arising from the same nucleus of operative facts and arising out of
 28   the same transactions, is also brought under California’s Unruh Civil Rights


                                             2

      Complaint
Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 3 of 7 Page ID #:3




  1   Act, which act expressly incorporates the Americans with Disabilities Act.
  2     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
  3   founded on the fact that the real property which is the subject of this action is
  4   located in this district and that Plaintiff's cause of action arose in this district.
  5
  6     FACTUAL ALLEGATIONS:
  7     10. Plaintiff went to the Restaurant in January 2019 and August 2019 with
  8   the intention to avail himself of its goods and to assess the property for
  9   compliance with the disability access laws.
 10     11. The Restaurant is a facility open to the public, a place of public
 11   accommodation, and a business establishment.
 12     12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
 13   to provide accessible sales and service counters in conformance with the ADA
 14   Standards as it relates to wheelchair users like the plaintiff.
 15     13. On information and belief, the defendants currently fail to provide
 16   accessible sales and service counters.
 17     14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 18   personally encountered these barriers.
 19     15. By failing to provide accessible facilities, the defendants denied the
 20   plaintiff full and equal access.
 21     16. The failure to provide accessible facilities created difficulty and
 22   discomfort for the Plaintiff.
 23     17. The defendants have failed to maintain in working and useable
 24   conditions those features required to provide ready access to persons with
 25   disabilities.
 26     18. The barriers identified above are easily removed without much
 27   difficulty or expense. They are the types of barriers identified by the
 28   Department of Justice as presumably readily achievable to remove and, in fact,


                                                3

      Complaint
Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 4 of 7 Page ID #:4




  1   these barriers are readily achievable to remove. Moreover, there are numerous
  2   alternative accommodations that could be made to provide a greater level of
  3   access if complete removal were not achievable.
  4     19. Plaintiff will return to the Restaurant to avail himself of its goods and to
  5   determine compliance with the disability access laws once it is represented to
  6   him that the Restaurant and its facilities are accessible. Plaintiff is currently
  7   deterred from doing so because of his knowledge of the existing barriers and
  8   his uncertainty about the existence of yet other barriers on the site. If the
  9   barriers are not removed, the plaintiff will face unlawful and discriminatory
 10   barriers again.
 11     20. Given the obvious and blatant nature of the barriers and violations
 12   alleged herein, the plaintiff alleges, on information and belief, that there are
 13   other violations and barriers on the site that relate to his disability. Plaintiff will
 14   amend the complaint, to provide proper notice regarding the scope of this
 15   lawsuit, once he conducts a site inspection. However, please be on notice that
 16   the plaintiff seeks to have all barriers related to his disability remedied. See
 17   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 18   encounters one barrier at a site, he can sue to have all barriers that relate to his
 19   disability removed regardless of whether he personally encountered them).
 20
 21   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 22   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 23   Defendants.) (42 U.S.C. section 12101, et seq.)
 24     21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 25   again herein, the allegations contained in all prior paragraphs of this
 26   complaint.
 27     22. Under the ADA, it is an act of discrimination to fail to ensure that the
 28   privileges, advantages, accommodations, facilities, goods and services of any


                                                4

      Complaint
Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 5 of 7 Page ID #:5




  1   place of public accommodation is offered on a full and equal basis by anyone
  2   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
  3   § 12182(a). Discrimination is defined, inter alia, as follows:
  4            a. A failure to make reasonable modifications in policies, practices,
  5               or procedures, when such modifications are necessary to afford
  6               goods,     services,   facilities,   privileges,     advantages,   or
  7               accommodations to individuals with disabilities, unless the
  8               accommodation would work a fundamental alteration of those
  9               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 10            b. A failure to remove architectural barriers where such removal is
 11               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 12               defined by reference to the ADA Standards.
 13            c. A failure to make alterations in such a manner that, to the
 14               maximum extent feasible, the altered portions of the facility are
 15               readily accessible to and usable by individuals with disabilities,
 16               including individuals who use wheelchairs or to ensure that, to the
 17               maximum extent feasible, the path of travel to the altered area and
 18               the bathrooms, telephones, and drinking fountains serving the
 19               altered area, are readily accessible to and usable by individuals
 20               with disabilities. 42 U.S.C. § 12183(a)(2).
 21     23. When a business provides facilities such as sales or transaction and
 22   service counters, it must provide accessible sales or transaction and service
 23   counters.
 24     24. Here, accessible sales or transaction and service counters have not been
 25   provided.
 26     25. The Safe Harbor provisions of the 2010 Standards are not applicable
 27   here because the conditions challenged in this lawsuit do not comply with the
 28   1991 Standards.


                                             5

      Complaint
Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 6 of 7 Page ID #:6




  1      26. A public accommodation must maintain in operable working condition
  2   those features of its facilities and equipment that are required to be readily
  3   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  4      27. Here, the failure to ensure that the accessible facilities were available
  5   and ready to be used by the plaintiff is a violation of the law.
  6
  7   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  8   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
  9   Code § 51-53.)
 10      28. Plaintiff repleads and incorporates by reference, as if fully set forth
 11   again herein, the allegations contained in all prior paragraphs of this
 12   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 13   that persons with disabilities are entitled to full and equal accommodations,
 14   advantages, facilities, privileges, or services in all business establishment of
 15   every kind whatsoever within the jurisdiction of the State of California. Cal.
 16   Civ. Code §51(b).
 17      29. The Unruh Act provides that a violation of the ADA is a violation of the
 18   Unruh Act. Cal. Civ. Code, § 51(f).
 19      30. Defendants’ acts and omissions, as herein alleged, have violated the
 20   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 21   rights to full and equal use of the accommodations, advantages, facilities,
 22   privileges, or services offered.
 23      31. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 24   discomfort or embarrassment for the plaintiff, the defendants are also each
 25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 26   (c).)
 27
 28


                                               6

      Complaint
Case 2:19-cv-10812-FMO-MAA Document 1 Filed 12/23/19 Page 7 of 7 Page ID #:7




  1          PRAYER:
  2          Wherefore, Plaintiff prays that this Court award damages and provide
  3   relief as follows:
  4       1. For injunctive relief, compelling Defendants to comply with the
  5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  6   plaintiff is not invoking section 55 of the California Civil Code and is not
  7   seeking injunctive relief under the Disabled Persons Act at all.
  8       2. Damages under the Unruh Civil Rights Act, which provides for actual
  9   damages and a statutory minimum of $4,000 for each offense.
 10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 12
      Dated: December 16, 2019         CENTER FOR DISABILITY ACCESS
 13
 14
 15
 16                                    By:________________________________
 17                                           Russell Handy, Esq.
                                              Attorney for plaintiff
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                             7

      Complaint
